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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 NATIONAL FEDERATION OF                        *
 THE BLIND, INC, et al.,
                                               *
                 Plaintiffs,
                                               * No. 1:19-CV-02228-ELH
        v.
                                               *
 LINDA H. LAMONE, et al.,
                                               *
                 Defendants.
  *    *     *    *    *   *   *   *   *   *       *   *   *   *   *   *   *   *   *   *
                      CONSENT MOTION FOR EXTENSION OF TIME

       Pursuant to Fed. R. Civ. P. 6(b) and Local Rule 105.9 of the Rules of this Court,

Defendants Linda H. Lamone, Michael R. Cogan, Patrick J. Hogan, William G. Voelp,

Kelley A. Howells, and Malcolm L. Funn, all sued in their official capacities as State

Administrator of Elections or Members of the State Board of Elections, by and through

their undersigned counsel, respectfully file this Consent Motion for Extension of Time to

extend the time for defendants to file an answer to or motion to dismiss the Complaint filed

by plaintiffs National Federation of the Blind, Inc., National Federation of the Blind of

Maryland, Joel Zimba, Ruth Sager, and Marie Cobb, by seven days. In support of this

motion, defendants state as follows:

       1.        On August 1, 2019, plaintiffs filed the Complaint in this action, and on

August 6. 2019 effected service of process on the defendants.

       2.        By operation of Rules 12(a)(1)(C) and 12(a)(4), defendants’ responsive

pleading or motion to dismiss pursuant to Rule 12(b) would be due August 27, 2019.
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      3.       Due to undersigned counsel’s pre-existing work and travel commitments,

defendants require an extension of the deadline for responding or moving against the

Complaint by seven days, to September 3, 2019.

      4.       On August 15, 2019, the undersigned counsel contacted counsel for the

plaintiffs in this matter to inquire whether plaintiffs would consent to a one-week

extension. On that same day, plaintiffs’ counsel responded in the affirmative.

      5.       Defendants therefore respectfully request that this Court extend the

time for defendants to respond or move against plaintiffs’ Complaint to September 3, 2019.



                                                  /s/ Andrea W. Trento                  .
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August 16, 2019                                   Attorneys for Defendants
